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                             EXHIBIT H
    Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 2 of 9 PageID #: 667
   Alterian                                                                                     Steve     Home       Create




Alterian
@AlterianInc

Home

Posts
                       Like        Following       Share
Videos
                                                                                                        ABOUT ALTERIAN
Photos
                          Alterian is with Al Terian.                                                   Our Story
About
                          October 19, 2017 ·
Community                                                                                               Welcome to the official ALTERIAN facebook
                   Hey Kids!! Flashing back to 1990 here: Get out your Ghostmaker Kits and
                                                                                                        page.
                   follow along with the instructions! (Back when Alterian Ghost Factory made
 Create a Page     Halloween masks and introduced a familiar looking face from the spook                One of the premiere effects studios in
                   world into the mainstream. He was also part of our company logo.)                    Hollywood toda...

                                                                                                        See More



                                                                                                        Community                                       See All

                                                                                                             Invite your friends to like this Page

                                                                                                             17,229 people like this

                                                                                                             17,284 people follow this


                                                                                                        About                                           See All

                                                                                                             California

                                                                                                             626-856-1499

                                                                                                             www.alterianinc.com

                                                                                                             Company

                                                                                                             Suggest Edits



                                                                                                              Page Transparency                      See More

                                                                                  +3                    Facebook is showing information to help you better
                                                                                                        understand the purpose of a Page. See actions taken by
                                                                                                        the people who manage and post content.

                                                                                                            Page created - March 18, 2010


                         111                                               3 Comments 2 Shares          Related Pages

                                Like               Comment                   Share
                                                                                                                    My Fright Shop
                                                                                                                                                         Like
                                                                                                                    Costume Shop
                   Most Relevant

                           Write a comment...
                                                                                                                    Thackery Binx
                                                                                                                                                         Like
                          Mark William Robinson This brings back memories.                                          Fictional Character

                          Like · Reply · 2y

                   Most Relevant is selected, so some comments may have been filtered out.                          Nick Vujicic
                                                                                                                                                         Like
                                                                                                                    Public Figure

                  Create Post


                                                                                                                        Chat
                                                                                                        Pages Liked by This  (5)
                                                                                                                            Page
    Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 3 of 9 PageID #: 668
   Alterian                                                                                    Steve     Home       Create
                           Write a post...
                                                                                                                  Kygo                                     Like



                        Photo/Video             Tag Friends        Check in
                                                                                                                  Philip'e's monster page                  Like


                          Alterian added 7 new photos to the album: POSTER ART from
                          Alterian projects.
                          October 12 at 12:08 PM ·                                                                Cleveland Internation…                   Like
                   Posters from the various feature film, television shows, theme park projects,
                   and live events that Alterian has been a part of.

Alterian                                                                                               English (US) · Español · Português (Brasil) ·
@AlterianInc                                                                                           Français (France) · Deutsch

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Posts                                                                                                  Facebook © 2019

Videos

Photos

About

Community

 Create a Page




                          POSTER ART from Alterian projects
                                                       7 Photos


                         58                                                           7 Comments


                              Like                    Comment                 Share


                   View 5 more comments

                          Mathieu FreaksFx Roszak GREAT!^^
                          Like · Reply · 5y

                          Michael Baker Nightbreed. Pure genius.
                          Like · Reply · 4y

                           Write a comment...



                          Alterian
                          October 7 at 2:16 AM ·

                   Nice to see this commercial on the air again this Halloween season! Mask
                   sculpture and makeup effects application by David Smith for Alterian
                   Studios: http://alterianinc.com/geico-horror-movie-its-what-you-do/




                                                                                                                         Chat (5)
    Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 4 of 9 PageID #: 669
   Alterian                                                                                       Steve   Home   Create




Alterian
                   ALTERIANINC.COM
@AlterianInc
                   GEICO: Horror Movie – It’s What You Do
Home               [jwplayer mediaid=5092]

Posts                 11

Videos
                               Like                Comment                  Share
Photos
                           Write a comment...
About

Community
                           Alterian
 Create a Page             September 18 ·

                   In theater's next month: "ZOMBIELAND DOUBLE TAP!!"
                   http://alterianinc.com/zombieland-2-double-tap-featurette-…/




                   ALTERIANINC.COM
                   ZOMBIELAND 2: DOUBLE TAP: Featurette Trailer
                   [jwplayer mediaid=7532]

                      5                                                                  1 Share


                               Like                Comment                  Share


                           Write a comment...



                           Alterian
                           August 17 ·

                   Finally ...The Family that slays together is back together!
                   Here are our three "Seed of Chucky" poseable dolls created exclusively for
                   release by Trick or Treat Studios, using the original molds from the film as
                   well as the original hair and wardrobe. Been lots of scary fun having the
                   three of them out in the shop again, but now they're off to the factory for
                   mass production, so they can invade your neighborhood next.
                   (More fun stuff is in the works for the fans as well ...stay tuned!)




                                                                                                                     Chat (5)
    Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 5 of 9 PageID #: 670
   Alterian                                                                                  Steve   Home   Create




Alterian
@AlterianInc

Home

Posts

Videos

Photos

About

Community

                         25                                              5 Comments 4 Shares
 Create a Page

                               Like                Comment                 Share


                   Most Relevant

                          Write a comment...


                          Angel De Jesús Cortés González Amazing!!
                          Please make the heart of damballa necklace!!




                          Like · Reply · 9w

                          Brandon Woodruff Cult dolls maybe ? Anyway love these dolls look
                          awesome.
                          Like · Reply · 9w

                   View 3 more comments


                          Alterian
                          July 1 ·

                   FINALLY!!




                                                                                                                Chat (5)
    Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 6 of 9 PageID #: 671
   Alterian                                                                                    Steve   Home   Create




Alterian           EW.COM
@AlterianInc
                   Scream Factory releasing bonkers 'The Blob' remake on
                   Collector's Edition Blu-ray
Home

Posts                        10                                                        1 Comment

Videos
                               Like                      Comment             Share
Photos
                   Most Relevant
About
                            Write a comment...
Community
                           Ricardo Spencer Comes with extras? I hope it can be sell to Spain
 Create a Page
                           Like · Reply · 16w · Edited



                           Alterian
                           June 6 ·

                   Nice little shout-out to our fearless leader Tony Gardner by Sacha Baron
                   Cohen today in his sit-down interview with Don Cheadle for Daily Variety!




                   VARIETY.COM
                   Sacha Baron Cohen Tells Don Cheadle What Scares Him Most
                   About Trump’s Presidency

                      11


                               Like                      Comment             Share


                            Write a comment...



                                                         See More




                                                                                                                  Chat (5)
   Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 7 of 9 PageID #: 672
                                                                                                       ABOUT ALTERIAN
   Search                                                                                      Steve     Home    Create

                         Alterian is with Al Terian.                                                    Our Story
                      LikeOctober Following
                                  19, 2017 ·         Share
                                                                                                        Welcome to the official ALTERIAN facebook
                  Hey Kids!! Flashing back to 1990 here: Get out your Ghostmaker Kits and
                                                                                                        page.
                  follow along with the instructions! (Back when Alterian Ghost Factory made
                  Halloween masks and introduced a familiar looking face from the spook                 One of the premiere effects studios in
                  world into the mainstream. He was also part of our company logo.)                     Hollywood toda...

                                                                                                        See More


                                                                                                       Community                                        See All

Alterian                                                                                                      Invite your friends to like this Page
@AlterianInc                                                                                                  17,229 people like this

Home                                                                                                          17,284 people follow this


Posts                                                                                                   Alterian
                                                                                                       About                                            See All
                                                                                                        · October 19, 2017 · Edited ·
Videos
                                                                                                              California
                                                                                               Alterian Ghost Factory mask ad from the pages of
Photos                                                                                                    626-856-1499
                                                                                               Fangoria magazine.  — with Al Terian and Fangoria.
About                                                                                                         www.alterianinc.com

Community                                                                                                     Company
                                                                                                          241                           2 Comments 7 Shares
                                                                                                              Suggest Edits
 Create a Page
                                                                                                       Like            Comment              Share

                                                                                                              Page Transparency                       See More

                                                                                  +3           Most Relevant
                                                                                                       Facebook is showing information to help you better
                                                                                                       understand the purpose of a Page. See actions taken by
                                                                                                       Mark
                                                                                                       the    William
                                                                                                           people      Robinson
                                                                                                                  who manage        Brainstorm
                                                                                                                               and post content. was
                                                                                                       modeled after my 17 year face by Chet Zar.
                                                                                                           Pagehurt
                                                                                                       My face  created
                                                                                                                    after- holding
                                                                                                                           March 18, 2010
                                                                                                                                   that expression so
                                                                                                       long.
                        111                                                 3 Comments 2 Shares                                                             1
                                                                                                       Like · Reply
                                                                                                       Related      · 2y
                                                                                                                Pages

                                                                                                             1 Reply
                               Like                  Comment                 Share
                                                                                                                  My Fright Shop
                                                                                                                                                           Like
                                                                                                        Write a comment...
                                                                                                                  Costume Shop
                  Most Relevant

                          Write a comment...
                                                                                                                    Thackery Binx
                                                                                                                                                           Like
                         Mark William Robinson This brings back memories.                                           Fictional Character

                         Like · Reply · 2y

                  Most Relevant is selected, so some comments may have been filtered out.                           Nick Vujicic
                                                                                                                                                           Like
                                                                                                                    Public Figure

                 Create Post



                          Write a post...                                                              Pages Liked by This Page



                                                                                                                    Kygo                                   Like
                       Photo/Video             Tag Friends       Check in



                         Alterian added 7 new photos to the album: POSTER ART from                                  Philip'e's monster page                Like
                         Alterian projects.
                         October 12 at 12:08 PM ·

                  Posters from the various feature film, television shows, theme park projects,
                  and live events that Alterian has been a part of.                                                 Cleveland Internation…                 Like




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                                                                                                                           Chat (5)
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        Search                                                    Steve   Home     Create



                          Like        Following        Share                                                                            YOUR PAGES

                            109                                                                 1 Share
                                                                                                                                                Ohio City Cigar Cigars      1

                                  Like                 Comment                   Share                              Search for posts on this Page
                                                                                                                                                Cigar Cigars Ohio City      7


                              Write a comment...                                                                Visitor Posts           CONTACTS


                                                                                                                                             Brandon Philip Romano
                         Saved · See saved items · Add to a Collection                                                      Christian Peters
                                                                                                                            September 4, 2018 at 7:40 PM
                                                                                                                                             Nick Naymik         26m
Alterian
                             Alterian is with Al Terian.                                                             I know this was a long time ago and a long
@AlterianInc                                                                                                      shot but was hoping someb...Nick
                                                                                                                                                SeeFlor
                                                                                                                                                     More
                             October 19, 2017 ·

Home                  Hey Kids!! Flashing back to 1990 here: Get out your Ghostmaker Kits and
                                                                                                                 Like · Comment
                                                                                                                Alterian                        Michael Logan
                      follow along with the instructions! (Back when Alterian Ghost Factory made
Posts                 Halloween masks and introduced a familiar looking face from the spook                     · October 19, 2017 · Edited ·
                                                                                                                                                George Kariotakis        11m
                      world into the mainstream. He was also part of our company logo.)                                     Al Terian
Videos                                                                                               Alterian Ghost Factory's  "Ghost
                                                                                                                        August 14, 2017Maker"   kit
                                                                                                                                       at 2:58 AM
                                                                                                     instructions from 1990. — with Al Joshua
                                                                                                                                        Terian.L Easterly                10m
Photos
                                                                                                                     Poor Chucky ...sometimes life can be rough.
                                                                                                                  #arthurmemes #memes #cultofchucky
                                                                                                                                           Becca Keller #chucky
About                                                                                                                                                                     2h

                                                                                                          229
Community                                                                                                         2 Likes   1 Comment
                                                                                                                                                Chase Hughes
                                                                                                                  Like · Comment
                                                                                                            Like                Comment            Share
 Create a Page                                                                                                                                  Peter Kariotakis

                                                                                                                Write a comment...
                                                                                                                           Tim Tyson
                                                                                                                                             Miguel M. Schoedel          33m
                                                                                                                            August 8, 2017 at 1:57 PM

                                                                                                                  You guys are amazing          Carolyn Boone             3h


                                                                                                                  Like · Comment                Evan Davidson             1h


                                                                                                                                        GROUP CONVERSATIONS

                                                                                                                English (US) · Español · Português (Brasil)
                                                                                                                                              dogs Of liberty·
                                                                                                                Français (France) · Deutsch James, Nick, Brandon


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                                                                                     +3

                            111                                               3 Comments 2 Shares


                                  Like                 Comment                   Share


                      Most Relevant

                              Write a comment...


                             Mark William Robinson This brings back memories.
                             Like · Reply · 2y

                      Most Relevant is selected, so some comments may have been filtered out.


                             Alterian is with Al Terian.
                             October 19, 2017 ·

                      Currently #1 at the box office!! Thank you Chris Landon for including us on
                      this crazy adventure. We're all looking forward to the Blumhouse Maze at
                      Halloween Horror Nights tonight, and seeing what craziness our little
                      masked maniac is up to!

                                                                                                                                           Chat is currently unavailable.

                                                                                                                                          Search
   Case 2:18-cv-06637-KAM-ARL Document 52-10 Filed 09/07/20 Page 9 of 9 PageID #: 674
   Search                                                                                      Steve      Home        Create



                      Like         Following         Share
                                                                                                        ABOUT ALTERIAN


                         Alterian is with Al Terian.                                                    Our Story
                         October 19, 2017 ·
                                                                                                        Welcome to the official ALTERIAN facebook
                  Hey Kids!! Flashing back to 1990 here: Get out your Ghostmaker Kits and
                                                                                                        page.
                  follow along with the instructions! (Back when Alterian Ghost Factory made
                  Halloween masks and introduced a familiar looking face from the spook                 One of the premiere effects studios in
                  world into the mainstream. He was also part of our company logo.)                     Hollywood toda...
Alterian                                                                                                See More
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Home                                                                                                    Community                                       See All

Posts                                                                                                    Alterian
                                                                                                             Invite your friends to like this Page
                                                                                                         · October 19, 2017 · Edited ·
Videos                                                                                                       17,229 people like this
                                                                                               Page from the  original Alterian Ghost Factory mask
Photos                                                                                                     17,284 people follow this
                                                                                               brochure from 1990. — with Al Terian.
About
                                                                                                        About                                           See All
Community
                                                                                                  188         California                  1 Comment 1 Share

 Create a Page                                                                                                626-856-1499
                                                                                                       Like            Comment              Share
                                                                                                              www.alterianinc.com

                                                                                               Most Relevant
                                                                                                           Company

                                                                                                              Suggest Edits
                                                                                                        Falco Mostaert Wow, I didn't know You
                                                                                                        made the "fearsome faces" before thé hour
                                                                                                        Like · Page
                                                                                                               Reply ·Transparency
                                                                                                                       2y                            See More

                                                                                  +3                    Facebook is showing information to help you better
                                                                                                         Write a comment...
                                                                                                        understand the purpose of a Page. See actions taken by
                                                                                                        the people who manage and post content.

                                                                                                              Page created - March 18, 2010


                        111                                                 3 Comments 2 Shares        Related Pages

                                Like                 Comment                 Share
                                                                                                                    My Fright Shop
                                                                                                                                                         Like
                                                                                                                    Costume Shop
                  Most Relevant

                          Write a comment...
                                                                                                                    Thackery Binx
                                                                                                                                                         Like
                         Mark William Robinson This brings back memories.                                           Fictional Character

                         Like · Reply · 2y

                  Most Relevant is selected, so some comments may have been filtered out.                           Nick Vujicic
                                                                                                                                                         Like
                                                                                                                    Public Figure

                 Create Post



                             Write a post...                                                           Pages Liked by This Page



                                                                                                                    Kygo                                Like
                       Photo/Video             Tag Friends       Check in



                         Alterian added 7 new photos to the album: POSTER ART from                                  Philip'e's monster page             Like
                         Alterian projects.
                         October 12 at 12:08 PM ·

                  Posters from the various feature film, television shows, theme park projects,
                  and live events that Alterian has been a part of.                                                 Cleveland Internation…              Like




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                                                                                                                          · Deutsch
